Case 1:19-cv-23694-DPG Document 10 Entered on FLSD Docket 09/09/2019 Page 1 of 7




                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTICT OF FLORIDA

                                   CASE NO.: 19-CV-23694-DPG
  XPORT AUTO PARTS, INC.,
  A Florida Corporation,

          Plaintiff,

  v.

  www.xportautoparts.com; GoDaddy.com, LLC;
  Unknown Registrant A/K/A Memerio Kernado
  A/K/A Jed Doering; Registrar of Domain Names
  Reg.Ru, LLC,


        Defendants.
  ____________________________________/

       ORDER GRANTING PLAINTIFF’S EXPEDITED EX PARTE APPLICATION FOR
                 ENTRY OF TEMPORARY RESTRAINING ORDER

          THIS CAUSE is before the Court on Plaintiff’s Expedited Ex Parte Application for Entry

  of Temporary Restraining Order and Preliminary Injunction (the “Application”) [ECF No. 7]. The

  Court has reviewed the Application, the Affidavit in support of the Application (the “Affidavit”),

  the record, and is otherwise fully advised in the premises. For the following reasons, Plaintiff’s Ex

  Parte Application for Temporary Restraining Order is GRANTED.

                                       I.     Factual Background

       1. Plaintiff XPORT AUTO PARTS, INC., is a family business that was founded and

          incorporated in the State of Florida on or about September 12, 2011. Plaintiff is in the

          business of exporting automobile parts to over 80 countries.

       2. Since the year 2011, Plaintiff has continuously and without interruption operated under the

          name and utilized the trademark/service mark “Xport Auto Parts” to market its services
Case 1:19-cv-23694-DPG Document 10 Entered on FLSD Docket 09/09/2019 Page 2 of 7



        throughout the world, and based on this prior use, owns the trademark/service mark “Xport

        Auto Parts” (hereinafter also referred to as the “Trademark”) and is entitled to trademark

        protection of its name.

     3. Since its inception, Plaintiff has spent well over $1,211,648.00 advertising and marketing

        its services and brand over the Internet using its Trademark.

     4. As a result of Plaintiff’s use of the Trademark throughout the years since the year 2011,

        including extensive advertising and promotion of its services, the Trademark is distinctive

        and has become well known and famous in the geographic regions in which Plaintiff does

        business, has acquired name recognition and invaluable good will, and has acquired

        secondary meaning such that the public throughout the 80 countries in which Plaintiff does

        business associates the Trademark with Plaintiff’s high quality products and service.

     5. Plaintiff is the owner of the Trademark, as evidenced by the Domain Name registration

        documents from September of 2011; the Business Tax Receipts from 2011 to present; the

        Annual Resale Certificate for Sales Tax for various years since 2011; the Google Adwords

        Account details; and the logo and extensive advertisement samples.

     6. On August 15, 2019, the domain name www.xportautoparts.com (the “Domain Name”)

        was stolen by Defendant Unknown Registrant A/K/A Memerio Kernado A/K/A Jed

        Doering (“Unknown Registrant”) through a cybertheft known as domain name high-

        jacking, in a malicious scheme conducted by Defendant Unknown Registrant with the sole

        purpose of demanding ransom (payable in bitcoin) for the return of the Domain Name.

     7. Defendant Unknown Registrant’s transfer of the Domain Name was in bad faith and for

        the singular purpose of extracting a ransom from the Plaintiff, as evidenced by copies of

        the ransom emails received by Plaintiff from Defendant Unknown Registrant.



                                                 2
Case 1:19-cv-23694-DPG Document 10 Entered on FLSD Docket 09/09/2019 Page 3 of 7



      8. The Domain Name was transferred by Unknown Registrant to Unknown Registrant’s

          account with Defendant Registrar of Domains Reg.Ru, LLC (“Reg.Ru”), which is a

          Russian entity with a principal office and place of business located in Russia.

      9. The Defendant Unknown Registrant’s unlawful activities, and Defendant Reg.Ru’s

          facilitation thereof, have deprived Plaintiff of its ability to operate its business, and derive

          income and revenue generated by the business and Domain Name, as well as depriving

          Plaintiff of sales of its auto parts and development of new client relationships.

                                           II.     Legal Standard

          In order to obtain a temporary restraining order, the moving party must demonstrate the

  existence of the following: (a) irreparable injury will be suffered if relief is not granted, (b) that

  there is a substantial likelihood of success on the merits, (c) the harm suffered by the movant in

  the absence of an injunction would exceed the harm suffered by the opposing party if the injunction

  issued, and (d) an injunction would not disserve the public interest. N. Am. Med. Corp. v. Axiom

  Worldwide, Inc., 522 F.3d 1211, 1217 (11th Cir. 2008); Schiavo ex. Rel Schindler v. Schiavo, 403

  F.3d 1223, 1225–26 (11th Cir. 2005).

          Additionally, a court may only issue a temporary restraining order without notice to the

  adverse party or its attorney if:

          (A) specific facts in an affidavit or a verified complaint clearly show that immediate
          and irreparable injury, loss, or damage will result to the movant before the adverse
          party can be heard in opposition; and (B) the movant’s attorney certifies in writing
          any efforts made to give notice and the reasons why it should not be required.

  Fed. R. Civ. P. 65(b). Ex parte temporary restraining orders “should be restricted to serving their

  underlying purpose of preserving the status quo and preventing irreparable harm just so long as is

  necessary to hold a hearing, and no longer.” Granny Goose Foods, Inc. v. Brotherhood of

  Teamsters & Auto Truck Local No. 70 of Alameida Cnty., etc., 415 U.S. 423, 439 (1974).

                                                     3
Case 1:19-cv-23694-DPG Document 10 Entered on FLSD Docket 09/09/2019 Page 4 of 7



                                       III.   Conclusions of Law

         Plaintiff’s verified Expedited Ex Parte Application for Temporary Restraining Order and

  accompanying Affidavit support the following conclusions of law:

     1. Plaintiff’s Application may be submitted ex parte under the circumstances presented, due

         to the fact that Plaintiff is suffering, and continues to suffer, irreparable harm by way of

         loss of its website and portal to the world, its business, its clientele and new potential

         clientele, and by ongoing embarrassment of its customers entering a non-functioning

         website and potentially then taking its business elsewhere.

     2. Moreover, due to the daily losses of business, customers and potential customers, the injury

         is immediate and exacerbated by any delays in obtaining the injunctive relief requested

         herein. The entry of a temporary restraining order would serve to immediately stop

         Defendants from benefiting from the wrongful taking of Plaintiff’s Domain Name and

         demands for ransom.

     3. Additionally, unless a temporary restraining order without notice is granted, Defendants

         can significantly alter the status quo before the Court can determine the parties’ respective

         rights. In particular, Defendants can take further actions to further transfer the domain name

         and remove it from this Court’s reach. Such actions can happen instantaneously after

         Defendants are provided with notice of this action, thereby thwarting the Court’s ability to

         grant meaningful relief. See Dell, Inc. v. BelgiumDomains, LLC, No. 07-22674, 2007 WL

         6862341, at *2 (S.D. Fla. Nov. 21, 2007) (finding that ex parte relief is acceptable where

         defendants’ scheme “is in electronic format and subject to quick, easy, untraceable

         destruction by defendants.”).




                                                   4
Case 1:19-cv-23694-DPG Document 10 Entered on FLSD Docket 09/09/2019 Page 5 of 7



     4. Plaintiff has a strong probability of success on the merits because Plaintiff has

        demonstrated that a) the name “Xport Auto Parts” is distinctive and entitled to protection;

        b) Defendant Unknown Registrant fraudulently transferred the domain name

        www.xportautoparts.com from the Plaintiff to its own account with Defendant Reg.Ru;

        and c) the transfer by Defendant Unknown Registrant was done in bad faith, as

        demonstrated by the ransom e-mails sent by Defendant Unknown Registrant attempting to

        profit from the theft. See [ECF No. 8, ¶¶ 3–14].

     5. Because of Defendants’ unauthorized publication as described above, Plaintiff is suffering,

        and is likely to continue to suffer, immediate and irreparable injury if a temporary

        restraining order is not granted. See [id. ¶¶ 17–22].

     6. As set forth in the Application and accompanying Affidavit, because Defendant Unknown

        Registrant can quickly and easily transfer the Domain Name, which would likely thwart

        Plaintiff’s ability to obtain meaningful relief, Plaintiff has demonstrated that it will likely

        suffer immediate and irreparable loss, damage, and injury before Defendants can be heard

        in opposition unless Plaintiff’s request for ex parte relief is granted. See [id. ¶¶ 23–24).

     7. The balance of potential harm to Defendants in restraining their unauthorized use of the

        Domain Name if a temporary restraining order is issued is far outweighed by the harm

        being suffered by Plaintiff if such relief is not granted. See [ECF No. 7, ¶¶ 45-50]; see also

        [ECF No. 8, ¶¶ 16-22].

     8. The public interest would be served by enjoining Defendants’ theft of Plaintiff’s Domain

        Name, by allowing Plaintiff to regain control of its Domain Name and business, and by

        preventing internet thieves from profiting from unlawfully obtained domain names for the

        purpose of extracting a ransom. See [ECF No. 7, ¶¶ 51-53].



                                                  5
Case 1:19-cv-23694-DPG Document 10 Entered on FLSD Docket 09/09/2019 Page 6 of 7



                            TEMPORARY RESTRAINING ORDER

        Accordingly, it is hereby ORDERED AND ADJUGED that:

     1. Defendants Unknown Registrant and Registrar of Domain Name Reg.Ru, LLC, their

        agents, and any person or entity acting in concert with or on behalf of Defendants, shall be

        immediately required to transfer the Domain Name www.xportautoparts.com back to

        Plaintiff, with Plaintiff’s registrar account with Defendant GoDaddy.com, LLC.

     2. Defendant Unknown Registrant shall be prohibited from using the Domain Name

        www.xportautoparts.com in any way.

     3. To the extent that Defendants Unknown Registrant and Registrar of Domain Name Reg.Ru,

        LLC, do not comply with paragraph 1 within 24 hours of entry and service of this Order,

        the non-parties Verisign, Inc., and Internet Corporation for Assigned Names and Numbers

        (“ICANN”) shall, within one business day of receipt of this Order, immediately transfer

        the Domain Name www.xportautoparts.com to Plaintiff, at Plaintiff’s account with the

        GoDaddy.com, LLC, registrar.

     4. The Court further orders the Clerk to issue notice to Defendants that a hearing on Plaintiff’s

        Application is set for Monday, September 23, 2019, at 10:30 a.m. The purpose of the

        hearing shall be to determine whether this Temporary Restraining Order should be made a

        Preliminary Injunction pending full trial on the merits.




                                                  6
Case 1:19-cv-23694-DPG Document 10 Entered on FLSD Docket 09/09/2019 Page 7 of 7



     5. The Court further orders that a bond or cash deposit in lieu of a bond for this Temporary

         Restraining Order shall be required in the amount of $10,000.00.

         DONE AND ORDERED in Chambers at Miami, Florida, this 9th day of September, 2019, at

  1:30 p.m.




                                              ________________________________
                                              DARRIN P. GAYLES
                                              UNITED STATES DISTRICT JUDGE




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